Case 2:04-cr-20359-.]PI\/| Document 161 Filed 05/25/05 Page 1 of 4 Page|D 215

IN THE UNITED STATES DISTRICT COURT
FOR THE WES'I`ERN DISTRIC‘T OF TENNESSEE
WESTERN DIVISION

 

UNI'I`ED STATES OF AMERICA

Plaintiff,
v. Criminal No. Qi- QOZ§E Ml
OM&V `/e\/Au' 0 (30-Day Continuance)
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Defendant(s).

F\LED m open COURT

DATE:_._-M”‘
T\ME:_M“

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CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures helow, the Uhited States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at §;§Q
a.m. on Fridav, JulV 1, 2005, with trial to take place on the July,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through July 15, 2005. Agreed in open court at report
date this 25th day of May, 2005.

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with am 55 mmr 32:;§)‘ mcs @n 5 ‘ 2 '

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Case 2:O4-cr-20359-.]PI\/| Document 161 Filed 05/25/05 Page 2 of 4 Page|D 216

so oRDERED this 25th day cf May, 2005.

o l )QC
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Q~Y,’_MU [LL_ t
JON PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

   

 

 

 

 

 

 

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C‘oun"sF l or D fendant(s) 5

UNITED `sATES DISTRIC COURT - WTERN D's'CTRT oFTENNESSEE

   

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This notice confirms a copy of the document docketed as number 161 in
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L. Daniel Johnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

1\/1emphis7 TN 38103

William D. Massey
MASSEY & MCCLUSKY
3074 East Street
1\/1emphis7 TN 38128

Matthew lan John
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

1\/1emphis7 TN 38103

Bruce I. Griffey

LAW OFFICES OF BRUCE 1. GRIFFEY
142 North Third St.

3rd Floor

1\/1emphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Mark Bowman

LAW OFFICES OF GARY GREEN
40 North Pauline

1\/1emphis7 TN 38105

Charles E. Waldman
WALDMAN & ASSOCIATES
200 Jefferson Ave.

Ste. 210

1\/1emphis7 TN 38103

Case 2:O4-cr-20359-.]PI\/| Document 161 Filed 05/25/05 Page 4 of 4 Page|D 218

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
217 EXchange Ave.

1\/1emphis7 TN 38105

Honorable J on McCalla
US DISTRICT COURT

